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UNITED STATES DISTRICT COtHEAUG -7 PH 12:07

DISTRICT OF MARYLAND '
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AT BALTIMORE
Jorge E. Vazquez and } BY cue eee DEPUTY
Pamela A. Vazquez, )
. )
Plaintiffs, )
v. ) Civil Action No: 1:17-cv-00997-ELH
) - .
)
Synchrony Bank, Inc., 3
)
Defendant. ) EA #.

_APROPESED] ORDER OF DISMISSAL WITH PREJUDICE
Based upon the Stipulation of Dismissal with Prejudice by all appearing parties and
pursuant to Fed. R. Civ. P. 41(a)(1), the above-referenced matter is hereby dismissed with
prejudice. The parties shall bear their own attorneys’ fees and costs.
IT IS SO ORDERED.

DATED elaliy LON “, Heotercti_.

Honorable Ellen Lipton Hollander
United States District Judge

 
